   Case: 1:22-cv-03501 Document #: 23 Filed: 01/26/24 Page 1 of 7 PageID #:123

          [fyou need additional space for ANY section, please attach an additional sheet and reference that section.]
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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                                                                                              FTA.ED
                                        EASTERN DIVISION


                                                                                                           -.;#-'^o^!*
                                                                                                           --.urr r.r. Or6ffi38rr,
 lerrtnce C-,1,,.1,hg                                                                                                          ^
(Enter above the full name
of the plaintiff or plaintiffs in
this action)

                            vs.                            Case No:        L2-: cV i 35Ol
                                                           (To be supplied            by the Clerk of this Court)
  0*K C.u,rlg



(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ,ONE ONLY:                                             MENDED COMPLAINT

   /              COMPLAINT UNDER THE CIVI RIGHTS ACT, TITI,E 42 SECTION 1983
                  U.S. Code (state, county, or municipal defendants)

                 COMPLAINT UNDER THE CONSTITUTION (''BIVENS'' ACTION), TITLE
                 28 SECTION 1331 U.S. Code (federal defendants)

                 OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRACTIONS FOR
FILING." FOLLOW THESE INSTRACTIONS CAREFULLY.




          flfyou need additional space for ANY section, please attach an addilional sheet and reference that section.l
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         Plaintiff(s):

         A.       Name:

          B.       List all aliases:

         C.        Prisoner identifi cation number:                2-02 oo g ?,ocl 5
          D.       Place of present confinement:

          E.       Address:      Z
         (lf there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
         number, place of confinement, and current address according to the above format on a
         separate sheet of paper.)

II.      Defendant(s):
         (ln A below, place the full name of the first defendant in the first blank, his or her official
         position in the second blank, and his or her place of employment in the third blank. Space
         for two additional defendants is provided in B and C.)

         A.        Defendant:

                  Title:                                                                           C ortec.#

                   Place of Employment:

         B.        Defendant:

                  Title:

                   Place of Employment:

         C.        Defendant:

                  Title:

                   Place of Employment:

         (lf you have more than three defendants, then all additional defendants must be listed
         according to the above format on a separate sheet of paper.)




                                                                                                                    Revised 9/2007




           [fyou need additional space for ANY section, please attach an additional sheet and reference that section.]
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            lfyou need additional space for ANY section, please attach an additional sheet and reference that section.I




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.          Name of case and docket



       B.

       C.          List all plaintiffs (if you had co-plaintiffs), including any aliases:




       D.          List atl defendanrs:           0e,ok C Or rn.U


       E.          Court in which the                              ,(ifjed
                   name the county):

       F.          Name ofjudge to whom case was assigned: 'f{otl, S*uVayt C , 'Sa'cgeX'



       G.




       H.          Disposition of this case (for-example; .S-as the case dismissed? Was it appealed?
                   ts it still pending?):       pfIlID,/VC?



                   Approximate date of disposition:


IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAMB
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                                     Revised 9/2007




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       ilfyou need additional space for ANY section, please attach an additional sheet and reference that section.l




IV.   Statement of Claim:

      State here as briefly as possible the facts of your case. Describe how each defendant is
      involved, including names, dates, and places. Do not give any legal arguments or cite any
      cases or statutes. If you intend to allege a number of related claims, number and set forth
      each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
      if necessary.)
                       'L       ,LCZ,L




                                                                                                                  Revised 9/2007




       ilf you need additional space for ANY section, please attach an additional sheet and reference that section.l
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          [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




V.       Relief:

         State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
         no cases or statutes.




VI.      The plaintiff demands that the case be tried by a                jury. tr          YES



                                                                         CERTIFICATION

                                      By signing this Complaint, I certify that the facts stated in this
                                      Complaint are true to the best of my knowledge, information and
                                      belief. I understand that if this certification is not correct, I may be
                                      subject to sanctions by the Court.

                                      Signed,hi.         l3+l aav orldnt)afvl ,zo Z+

                                      (Silnature of plaintiff dr p, l_ai




                                              LcZc-t(-tl3Uol\
                                      (1.D. Number')



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Case: 1:22-cv-03501 Document #: 23 Filed: 01/26/24 Page 7 of 7 PageID #:129
